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                                                U.S. Department of Justice
                                                    Civil Rights Division


                                                    Special Litigation Section - PHB
SHR:LLC:RJG:JDH                                     950 Pennsylvania Ave, NW
DJ 207-61-1                                         Washington DC 20530



                                                    April 2, 2021
                                                    Via mail and email


Robert Taylor, City Attorney
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                        ADMISSIBILITY SUBJECT TO FED. R. EVID. 408

       RE:     United States v. City of Portland, 3:12-cv-02265-SI
               Notice pursuant to Amended Settlement Paragraph 178

Dear Mr. Taylor and Chief Lovell:

        We write pursuant to Paragraph 178 of the Amended Settlement Agreement in the
above-referenced case to provide notice that the United States “reasonably believes the City has
failed to implement the terms of the Agreement.” ECF 171. By this notice we aim to provide
structure to the process by which the City returns to and maintains substantial compliance with
the Agreement.

        Our concerns are laid out with specificity in the Fifth Periodic Compliance Assessment
Report that we filed on February 10, 2021. ECF 236. Our Report found that the City has failed
to implement the following terms of the Agreement: Section III – Use of Force, Paragraphs 66,
67, 69, 70, and 73; Section IV – Training, Paragraphs 78 and 84; Section VIII – Officer
Accountability, Paragraphs 121, 123, and 169; and Section IX – Community Engagement and
Creation of Portland Committee on Community Engaged Policing, Paragraph 150. Further, our
March 23, 2021 letter containing the requested Police Review Board written critique expands on
our assessment of the City’s failure to fully implement the terms of Paragraphs 66, 67, 69, 70,
73, and 169. This notice incorporates by reference the sections of our compliance assessment
report cited above and the March 23 letter.
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      We look forward to receiving the City’s written response in the next 30 days.

                            Sincerely,

                            /s/ Jonas Geissler            /s/ Jared D. Hager

                            R. Jonas Geissler             Jared D. Hager
                            Senior Trial Attorney         Assistant U.S. Attorney
                            Civil Rights Division         District of Oregon
                            Department of Justice


cc:   Robert King, Senior Policy Advisor, Robert.King@portlandoregon.gov
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